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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


   JILL BABCOCK, et al.,                     Case No.: 2:22-cv-12951

          Plaintiffs,                        JUDGE JONATHAN J.C. GREY

   v.

   STATE OF MICHIGAN, et al.,

          Defendants.

                        INDEX OF PLAINTIFFS’ EXHIBITS
  Ex 1 22-cv-12951_Plaintiffs_Initial 26-a-1 Disclosures_2024 0528


  Ex 2 Photo Non-Compliant Larned Entrance Ramp Post Cross Pedestrian Traffic
  Other


  Ex 3 Photo Non-Compliant Larned Drop off and Parking Closed to Public


  Ex 4 Photo Non-Compliant Sign -Handicapped in Basement


  Ex 5 Photo Non-Compliant Door to Toilet Room


  Ex 6 Photo Non-Compliant Public Toilet Room No Accessible Toilets


  Ex 7 Photo Non-Compliant Public Toilet Room No Accessible Toilets


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  Ex 8 Photo Non-Compliant Public Toilet Room No Accessible Toilets


  Ex 9 Photo Non-Compliant Inaccessible Stall Door Mirror Paper


  Ex 10 Photo Non-Compliant Sink Faucet Soap Mirror


  Ex 11 Photo Purportedly Compliant Toilet Stall


  Ex 12 Photo Non-Complaint 1st Floor Early Voting Center Public Hall Entrance
  Counters


  Ex 13 Photo Non-Compliant Staircase Public Hall


  Ex 14 Photo Non-Compliant Public Entrance Door Lobby Civil Rights Disability
  Affairs


  Ex 15 Photo Non-Compliant Public Hall Court Information and Counters


  Ex 16 Photo Non-Compliant Public Court Office Door and Counters


  Ex 17 Photo Non-Compliant City Council Public Meeting Entrance Seating


  Ex 18 Photo Non-Compliant Auditorium Spaces and Dais


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  Ex 19 Photo Non-Compliant Sign Emergency


  Ex 20 Photo Compliant Refuge Area Signs Building not a defendant


  Ex 21 Article Detroiter Marguerite Maddox champions mobility rights


  Ex 22 Article Quotes Jill BabcockMetroTimes_Dec 22 2022 meeting with DOJ
  complaints


  Ex 23 Article re Marguerite_Documenters_ When ‘relentlessly local’ goes global


  Ex 24 Article Michigan Chronicle_DWJBA wins Prestigious BOMA 360 Award


  Ex 25 HINES Landing pages CAYMC Saves 6-2 million annually


  Ex 26 Article PHLUSH Advocacy Toolkit Understand-Codes


  Ex 27 CDC Statistics_disabilities_impacts_all_of_us


  Ex 28 Out of Office Email Thread




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